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                               6
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                               7
                                 COUNTY OF ALAMEDA
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                               9                                        UNITED STATES DISTRICT COURT

                              10                                    NORTHERN DISTRICT OF CALIFORNIA

                              11                                           SAN FRANCISCO DIVISION
ORBACH HUFF & HENDERSON LLP




                              12 LISAMARIA MARTINEZ,                                         Case No. 20-cv-06570-TSH

                              13                           Plaintiff,
                                                                                             DEFENDANT COUNTY OF ALAMEDA’S
                              14 v.                                                          [PROPOSED] VERDICT FORM
                              15
                                   COUNTY OF ALAMEDA,
                              16                                                             PTC:            February 15, 2024
                                                           Defendant.                        TIME:           10:00 a.m.
                              17                                                             DEPT:           Courtroom G, 15th Floor
                                                                                             JUDGE:          Hon. Thomas Hixson
                              18                                                             TRIAL:          March 25, 2024
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                                   Defendant County of Alameda’s [Proposed] Verdict Form [20-cv-06570-TSH]
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                               1           Defendant COUNTY OF ALAMEDA hereby submits its [Proposed] Verdict Form.

                               2

                               3 Dated: January 25, 2024                   Respectfully submitted,
                                                                           ORBACH HUFF + HENDERSON LLP
                               4
                                                                           By: /s/ Kevin E. Gilbert
                               5
                                                                                 Kevin E. Gilbert
                               6                                                 Nicholas D. Fine
                                                                                 Attorneys for Defendant
                               7                                                 COUNTY OF ALAMEDA
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                                   Defendant County of Alameda’s [Proposed] Verdict Form [20-cv-06570-TSH]
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                               1                                    [PROPOSED] JURY VERDICT FORM
                               2           WE, THE JURY in the above-entitled action, find as follows on the questions submitted to us:

                               3

                               4           Question 1. Has Plaintiff proven by a preponderance of the evidence that Plaintiff was unable to

                               5   effectively communicate with the County’s employees during her visit to the CRO on March 29, 2019?

                               6   (Check “Yes” or “No”.)

                               7

                               8                   Yes _____ No _____
                               9
                              10   If you answered “Yes” please go to Question 2. If you answered “No” stop here, answer no further
                              11   questions and sign and date this verdict form.
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                              12

                              13           Question 2. Has Plaintiff proven by a preponderance of the evidence that she was denied
                              14   participation in, or the benefits of, the CRO’s services, programs, or activities on March 29, 2019, on
                              15   account of the ineffective communication? (Check “Yes” or “No”.)
                              16

                              17                   Yes _____ No _____
                              18

                              19   If you answered “Yes” please go to Question 3. If you answered “No” stop here, answer no further
                              20   questions and sign and date this verdict form.
                              21

                              22           Question 3. Has Plaintiff proven by a preponderance of the evidence that Plaintiff requested a
                              23   reasonable accommodation from the County on March 29, 2019, in order to participate in, or receive the
                              24   benefits of, the CRO’s services, programs, or activities? (Check “Yes” or “No”.)
                              25

                              26                   Yes _____ No _____
                              27   If you answered “Yes” please go to Question 4. If you answered “No” stop here, answer no further
                              28   questions and sign and date this verdict form.
                                                                                           -2-
                                   Defendant County of Alameda’s [Proposed] Verdict Form [20-cv-06570-TSH]
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                               1           Question 4. Has Plaintiff proven by a preponderance of the evidence that the County failed to

                               2   provide Plaintiff with reasonable accommodations on March 29, 2019, to allow Plaintiff to participate

                               3   in, or receive the benefits of, the CRO’s services, programs, or activities? (Check “Yes” or “No”.)

                               4

                               5                   Yes _____ No _____

                               6

                               7   If you answered “Yes” please go to Question 5. If you answered “No” stop here, answer no further

                               8   questions and sign and date this verdict form.

                               9
                              10           Question 5. Is the County’s implementation of a computer kiosk with electronic forms and
                              11   screen-reader software, coupled with human assistance provided by CRO personnel, a reasonable
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                              12   accommodation? (Check “Yes” or “No”.)
                              13

                              14                   Yes _____ No _____
                              15

                              16   Please go to Question 6.
                              17

                              18           Question 6. Has Plaintiff proven by a preponderance of the evidence that the County’s
                              19   employees were deliberately indifferent to Plaintiff due to her disability on March 29, 2019? (Check
                              20   “Yes” or “No”.)
                              21

                              22                   Yes _____ No _____
                              23

                              24   If you answered “Yes” please go to Question 7. If you answered “No” stop here, answer no further
                              25   questions and sign and date this verdict form.
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                                   Defendant County of Alameda’s [Proposed] Verdict Form [20-cv-06570-TSH]
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                               1           Question 7. What damages has Plaintiff proven by a preponderance of the evidence?

                               2

                               3                                                                   $___________________

                               4

                               5   Please date and sign this verdict form below and return it to the Court. Thank you.
                               6

                               7   Dated: ____________                       Signed: ____________________________
                                                                                             Jury Foreperson
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                                   Defendant County of Alameda’s [Proposed] Verdict Form [20-cv-06570-TSH]
